Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
                Defective filing re: Doris Arroyo Velez Page 1 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
                Defective filing re: Doris Arroyo Velez Page 2 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
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Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
               Defective filing re: Doris Arroyo Velez Page 11 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
               Defective filing re: Doris Arroyo Velez Page 12 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
               Defective filing re: Doris Arroyo Velez Page 13 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
               Defective filing re: Doris Arroyo Velez Page 14 of 15
Case:17-03283-LTS Doc#:17118-1 Filed:06/21/21 Entered:06/21/21 11:05:42   Desc:
               Defective filing re: Doris Arroyo Velez Page 15 of 15
